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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

MICHAEL JOSEPH ROTONDO,
Plaintiff,
- against - AFFIDAVIT IN SUPPORT OF
SUMMARY JUD GMENT
Civil Case No. 5:17-CV-522
DNH/DEP

` BEST BUY STORES, LLC,
Defendant.

 

The Plaintiff Michael J. Rotondo asserts under the penalties of perjury as

follows:

STATEMENT OF MATERIAL FACTS

l. The Plaintiff filed a letter With the court on NoVernber 1, 2017, describing
Why he felt the need to file motions that both compel discovery and dispose of
this case; Which those motions that both compel discovery and dispose of this
case had also filed along With this same letter. In this same letter, the Plaintiff
describes how the Defendant Was unwilling to develop a case management plan

With the Plaintiff, prior to the Rule 16 conference and, the Defendant Was

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unwilling to discuss the Plaintiff’s case with him in any way and, that these
were the reasons why the Plaintiff believed that he had to file motions with the
court as, the Defendant was unwilling to participate in the case in any Way.
These facts are depicted in this same letter to the court, entitled “Explanation

for filing discovery”, itself annexed hereto as “EXhibit A”.

2. Defendant serves onto Plaintiff their own “First set of interrogatories and
request for production of documents”, dated November 1, 2017. Plaintiff claims
that this same service occurred only after he had filed his November 1, 2017,
Docket entries 25-36; which were his letter “Explanation for filing discovery”,
motions to compel discovery, and a dispositive motion. This same Defendant’s
own “First set of interrogatories and request for production of documents” is

annexed hereto as “EXhibit B”.

3. The court ruled that the Plaintiff’s motions to compel discovery (Docket

numbers 27-36) were filed prematurely

4. Defendant’s “First set of interrogatories and request for production of
documents” (Exhibit B) did not speak to the operative pleading, this can be seen

by reading interrogatory “5” from “EXhibit B” and then reading paragraph 8(b)

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of the operative pleading. This same error is described very clearly to the
Defendant in a letter from the Plaintiff to the Defendant entitled “Response to
interrogatories and request for production of documents”, which is itself dated
November 5, 2017. This same “Response to interrogatories and request for

production of documents” of the Plaintiff’s, is annexed hereto as “Exhibit C”.

5. Plaintiff served onto the Defendant his own “Plaintiff’s request for
discovery and admissions”. This same “Plaintiff’s request for discovery and
admissions” is annexed hereto as “Exhibit D”. This “Exhibit D”, describes the
discovery motions, which were filed With the court on November 1, 2017, and,
those motions were attached to this “Plaintiff’s request for discovery and
admissions” upon service onto the Defendant. These same discovery motions
filed on November 1, 2017 are not attached to this “Exhibit D” because they
consist of too many pages to attach to this motion, so they are provided by

reference to the case docket, numbers 27-35.

6. Defendant responds to Plaintiff’s “Response to interrogatories and request
for production of documents” (Exhibit C), with a letter dated November 16,
2017, in which it is asserted by the Defendant that it is the consideration of the

Plaintiff, that the numbers of the interrogatories need to correspond in subject

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matter to the numbers in the complaint, and that this is an error on behalf of the
Plaintiff; This was an egregious misinterpretation of Plaintiff’s “Response to
interrogatories and request for production of documents” (Exhibit C).
Defendant’s same letter dated November 16, 2017, is annexed hereto as

“EXhibit E”.

7. Plaintiff responds to Defendant’s letter dated November 16, 2017 (Exhibit
E) with Plaintiff’s “2nd response to interrogatories and request for production
of documents”, itself dated November 18, 2017, in which the Plaintiff spells out
for the Defendant, how they may see the error in their “First set of
interrogatories and request for production of documents” (Exhibit B). This same
“2nd response to interrogatories and request for production of documents” of
the Plaintiff’s goes ignored by the Defendant, This same “2nd response to
interrogatories and request for production of documents” of the Plaintiff’s is

annexed hereto as “EXhibit F”.

8. The Defendant Responds to “Plaintiff’s request for discovery and
admissions” (Exhibit D), with their December 6, 2017 “Response to request for
discovery and admissions” in which, the Defendant denies that they have to

respond to the concatenated documents, because those same concatenated

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documents were denied by the court as premature, while those same

concatenated documents were motions Plaintiff claims that Defendant’s claim
that Defendant doesn’t have to respond to those sarne concatenated documents
is unreasonable Defendant’s same December 6, 2017 “Response to request for

discovery and admissions” is annexed hereto as “Exhibit G”.

9. After 30 days had passed since the Plaintiff had served his own “2nd
response to interrogatories and request for production of documents” (Exhibit
F), the Plaintiff had filed a dispositive motion (Docket number 45), based on
Defendant’s failure to defend as, the Defendant would not discuss the case with
the Plaintiff prior to the Rule 16 conference and then subsequently refused to
amend their own “First set of interrogatories and request for production of
documents”, (Exhibit B) to reflect the (or any) operative pleading in spite of the

numerous and crystal clear requests by the Plaintiff, for the Defendant to do so.

10. The Plaintiff had served onto Defendant, notices to take the depositions of
both Joshua Louie and “Mary” and also, served onto the Defendant “Plaintiff’s
request for documents, interrogatories, and admissions”, all onto the Defendant
on April 23, 2018. This same notice to take deposition of Joshua Louie is

annexed hereto as “EXhibit H”, and this same notice to take deposition of Mary

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is annexed hereto as “Exhibit I”, and this same “Plaintiff’s request for
documents, interrogatories, and admissions” is annexed hereto as “Exhibit J”.
11. Defendant did not respond to either of Plaintiff’s notices, to take the

depositions of Joshua Louie or “Mary”.

12. At the Plaintiff’s own deposition on May 7, 2018, the Plaintiff asked the
Defendant if he intended to produce Joshua Louie and “Mary” for the
depositions that Defendant himself was served notice for (Exhibits “H” and
“I”). The Defendant said that he himself was not available on May 10, 2018 to

do those same depositions.

13. Defendant appeared at the May 10, 2018 deposition of Christopher

Richardson.

14. During the May 10, 2018 telephone conference, the Defendant had
disclosed that “Mary”, who had been identified as Mary Davis, was no longer
an employee of the Defendant. In response to this, the Plaintiff then represented
to the Defendant during this same telephone conference, that he himself wished

to depose Samantha Precourt instead of Mary Davis.

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15, On May 15, 2018 at 10:44 AM, the Plaintiff received frorn the Defendant
a “Letter to Rotondo re depositions.pdf” via email. In this same letter, the
Defendant stated that Mary Davis and Samantha Precourt are not employees of
the Defendant This sarne “Letter to Rotondo re depositions.pdf” is annexed

hereto as “Exhibit K”.

16, On May 15, 2018 at 1:04 PM, the Plaintiff asked the Defendant to “Please
return to me the checks for Mary, and Mariah Goddard.” vi email. This same

email is annexed hereto as “Exhibit L”.

17. On May 15, 2018 at 2:24 PM, the Plaintiff asked through email, if the
Defendant will respond to the Plaintiff’s request for the checks of Mary and
Mariah Goddard; through the reference of his previous request of the Defendant
(Exhibit L) for those same checks. The response from the Defendant was that
these checks will be mailed back to him (the Plaintiff). This same response is

annexed hereto as “Exhibit M”.

18. On May 16, 2018 at 11:26 AM, the Plaintiff had attempted to schedule the
deposition of “Mary’s” replacement, who was herself Samantha Precourt, after

the date for the deadline for discovery had passed. The Plaintiff did this

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because, the Plaintiff needed enough time to serve a Rule 45 subpoena onto
Samantha Precourt, With the challenge that the Defendant had turned the
deposition of “Mary” into, by not responding to the Plaintiff’s notice to take
deposition of her, the Plaintiff did not have enough time to serve a Rule 45
subpoena onto Samantha Precourt, unless the deposition date Was after the
deadline for discovery. The Defendant was unwilling to schedule the Rule 45
depositions of Samantha Precourt past the discovery deadline, which prevented
her testimony from being procured for this case. The correspondence in which
the Defendant had refused to make himself available for a deposition scheduled

after the discovery deadline, is annexed hereto as “Exhibit M”.

19. On May 21, 2018 at 1214 PM, the Plaintiff sent a letter to the Defendant
via email, stating that he wishes to depose Joshua Louie and, describes the
manner in which the Defendant has made this same deposition of Joshua Louie

difficult for himself. This same letter sent via email is annexed hereto as

“EXhibit N”.

20. On May 21, 2018 at 3:25 PM, the Plaintiff received the Defendant’s
response to his “Plaintiff ’s request for documents, interrogatories, and

admissions”. Within this same response of the Defendant’s, Joshua Louie is

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characterized as a “nonparty”. This same response by the Defendant is annexed

hereto as “Exhibit O”.

21. On May 21, 2018 at 3:26 PM, the Plaintiff received an email from the
Defendant stating that Joshua Louie isn’t an employee of the Defendant. This

same email is annexed hereto as “EXhibit P”.

22. The Plaintiff claims that the Defendant had set fourth that Joshua Louie
was an employee of the Defendant by not disclosing to the Plaintiff that, Joshua
Louie was not an employee of the Defendant while, simultaneously having
disclosed that other individuals named as employees in the same instance(s) as
Joshua Louie, Were disclosed as not being employees of the Defendant. The
Plaintiff further claims that the Defendant had prevented the testimony of
Joshua Louie from being procured through the withholding of the fact that
Joshua Louie was not an employee of the Defendant and also, the unwillingness
of the Defendant to schedule depositions past the discovery deadline each and

both.

23. Plaintiff was harassed with his parenting time with his son, by being

scheduled unnecessarily on days that the Defendant knew that the Plaintiff had

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patenting time with his son, This was done to the Plaintiff by the Defendant by
the Defendant scheduling the Plaintiff to come into work on effectively each
and every Saturday, while the Defendant had no business need to call the
Plaintiff in to work on those same Saturdays. This occurred throughout the year
of 2015 and was done to the Plaintiff by both Mariah Goddard and Martin
Brown each, at the Best Buy Store located at 9090 Destiny USA Dr. Syracuse,
NY 13290. This claim is supported by pages 102-111 (bates stamp BB800358-
BB800367) of Defendant’s “EXhibit A to Rule 26 disclosure”, it which it can be
seen that the Defendant scheduled the Plaintiff to come in and work on
Saturdays, from 6:00 PM to 10:00 PM. This same claim could have been
supported by the testimony of Joshua Louie, and to support that it was
unnecessary to schedule the Plaintiff on Saturdays, but the Defendant had
fraudulently prevented this testimony from being procured by miss-

characterizing the status of Joshua Louie’s employment with the Defendant.

24. The Respondent consistently perpetually and unfairly placed the Plaintiff
in the “portable audio” or “networking” sections of his departrnent, instead of
placing him in the section of his department where the employees sold cellular
phones. Selling cellular phones is much preferred amongst employees, over

being placed elsewhere in the departrnent, and the Plaintiff could most

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' effectively be capitalized on as an employee by being placed in the department
to sell cellular phones, because of his experience in the cellular phone
department This occurred throughout the year of 2015 and was done to the
Plaintiff by both Mariah Goddard and Martin Brown each, at the Best Buy
Store located at 9090 Destiny USA Dr. Syracuse, NY 13290. This same claim
could have been supported by the testimony of Joshua Louie, but the Defendant
had fraudulently prevented this testimony from being procured by miss-

characterizing the status of Joshua Louie’s employment With the Defendant.

25. The Respondent had agreed to allow the Plaintiff to be unavailable for
work on all Saturday’s in perpetuity, including the Halloween holiday on
10/31/2015. This Was agreed upon on behalf of the Defendant by the General
Manager of the Best Buy store that the Plaintiff had worked at Jason Kollbaum,
Whom had agreed to this same unavailability on 9/6/2015 at 3:32 CDT. In
accordance with company policy, the Plaintiff could depend on this same
agreement lt was documented that the Plaintiff was reprimanded on a day
shortly after 10/31/2015 by Justin Hayse, for not coming in to work on
10/31/2015. This occurred at the Best Buy Store located at 9090 Destiny USA
Dr. Syracuse, NY 13290. This claim is supported by pages 22-24 (bates stamp

BB500278-BB800280) of Defendant’s “Exhibit A to Rule 26 disclosure”,

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which shows that the Plaintiff had “all Saturdays off in perpetuity” and, the
documentation of this same reprimand by Justin Hayse, for the Plaintiff not
coming in to work for the Defendant on 10/31/2015. This same documentation
for the same reprimand by Justin Hayse, is annexed hereto as “Exhibit Q”. This
documentation of this same reprimand could have been identified as exactly
What the Plaintiff claims it is by the testimony of Joshua Louie, but the
Defendant had fraudulently prevented this testimony from being procured, by
miss-characterizing the status of Joshua Louie’s employment with the

Defendant.

26. The Plaintiff was told by his supervisor Mariah Goddard that, if he did not
request for the Defendant to amend his Work availability agreement to include
Saturdays, as a day that he was available to work, he would be terminated This
occurred at the Best Buy Store located at 9090 Destiny USA Dr. Syracuse, NY
13290. This representation that the Plaintiff would be terminated if he did not
amend his work agreement with the Respondent was reiterated by Mariah
Goddard to the Plaintiff on 12/4/2015 at the Best Buy Store located at 9090
Destiny USA Dr. Syracuse, NY 13290. In accordance with company policy, the
Plaintiff was under no obligation to request to amend his work availability

agreement With the Respondent. The Plaintiff did not request to amend his Work

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availability agreement with the Respondent to thereafter include Saturdays. The
Respondent terminated the employment of the Plaintiff on/about 12/4/2015.

This is claim is supported by the findings of fact by the New York State
Department of Labor that, the Plaintiff’s request for Saturdays off was approved
by the general manager; This is stated on page three paragraph one of a letter
sent from the New York State Department of Labor to the Plaintiff and, a copy
of this letter is annexed hereto as “Exhibit R”. Also, that same letter from the
New York State Department of Labor states incorrectly the nature of that same
request to have Saturdays off, as pertaining to “several Saturdays” while in fact,
that same request for Saturdays off, Was a request for all Saturdays off in
perpetuity, and not “several Saturdays”, Which is supported by Defendant`s own
availability data of the Plaintiff (pages 22-24 of Defendant’s “EXhibit A to Rule
26 disclosure; bates stamp BB800278-BB500280), which shows that the

Plaintiff had all Saturdays off in perpetuity approved by the Defendant.

27. Other single parents who were females, were not treated the same way
that the Plaintiff Was. This would have been supported by the testimony of
Samantha Precourt, who Was herself a single female parent, but the Defendant
refused to schedule a deposition past the discovery deadline date, which

prevented her testimony from being procured, This same refusal for the

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Defendant to schedule a deposition past the discovery deadline date is annexed
hereto as “Exhibit M”. This claim is further supported by the answers provided
by Christopher Richardson, at the Plaintiff’s deposition of Mr. Richardson, ln
which Mr. Richardson provides that Samantha Precourt was a single parent who
was female, who was not treated differently because she was a single female
parent, This is evident in pages 19, and 21-22 of the transcription of this same
deposition of Mr. Richardson. These same pages of the deposition of Mr.

Richardson are annexed hereto as “Exhibit S”.

28. The Plaintiff was harassed with his parenting time with his son, by being
exclusively scheduled on a day of the week that the Respondent knew would be
most burdensome to the Plaintiff’s parenting time, With his own son, This
occurred between January 12, 2015 and February 12, 2015, and was done to the
Plaintiff by his supervisor Martin Brown, at the Best Buy Store located at 9090
Destiny USA Dr. Syracuse, NY 13290. This is supported by page 102 (bates
stamp BB800358) of Defendant’s “ExhibitA to Rule 26 disclosure” as,
1/17/2015, 1/24/2015, 1/31/2015, and 2/7/2015 are all Saturdays. Further, pages
89-91 (bates stamp BB500345-BB800347) of Defendant’s “Exhibit A to Rule
26 disclosure”, show that during the same days of the year (January 12 -

February 12) of one year prior, show that the business needs for the Defendant

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of the Plaintiff, corresponded to 44 scheduled shifts for the Plaintiff to come in
and work for the Defendant in that time span. The business needs of the
Defendant for those same “times of year” are effectively identical, from one

year (2014) to that subsequent year (2015).

29. The Respondent had failed to promote the Plaintiff, this was done to the
Plaintiff at the Best Buy Store located at 9090 Destiny USA Dr. Syracuse, NY
13290, some time previous to 2015,

This claim of failure to promote is supported by page 21 (bates stamp
BB800277) of Defendant’s “EXhibit A to Rule 26 disclosure” as, it describes
that the Plaintiff was turned down because a better candidate was chosen

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because of that candidate’s education” and, the testimony of Joshua Louie to
this same “education”, would show that this same “education” was the
experience Joshua Louie had from developing android cellular-phone
applications, which was not a duty of a Best Buy sales associate under any
circumstances Also, Joshua Louie had no previous experience working at Best
Buy, Joshua Louie had only worked one previous Retail job, and for a duration
of 6 months and, this same 6 month duration of employment in retail shows that

it is unlikely that Josh would have stayed with Best Buy, long enough to make

hiring him for a full time position worthwhile. At the time of Joshua Louie’s

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application for employment at Best Buy, the Plaintiff had been working for the
Defendant (Best Buy) for years. These claims regarding the work history and
“education” of Joshua Louie could have been supported by the testimony of
Joshua Louie, but the Defendant had fraudulently prevented this testimony from
being procured, by miss-characterizing the status of Joshua Louie’s

employment with the Defendant.

30. Jason Kollbaum, a general manager, had the authority to approve the
Plaintiff’s request to have all Saturday’s off in perpetuity, per company policy,
This component of company policy is described in the internal Best Buy Stores
LLC, document entitled “Availability Standards”, which itself states on the
fourth “bullet” from the top that:
“While we will not make exceptions to the Availability Standards,
employees may request accommodations from their General
Manager and DHRM. These requests will be approved or denied by
these leaders.”
Thereby clearly describing, that a General Manager may approve a request for
an employee to have all Saturday’s off in perpetuity, and that should such an

approval transpire, this agreement could then be depended upon by the relevant

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employee. A copy of the internal Best Buy Storess LLC. document entitled
“Availability Standards”, has been annexed hereto as “Exhibit T”. This same
“Exhibit T” could have been identified as exactly what the Plaintiff claims it is
by the testimony of Joshua Louie, but the Defendant had fraudulently prevented
this testimony from being procured, by miss-characterizing the status of Joshua

Louie’s employment with the Defendant.

31. The Defendant had demonstrated that the discrimination against the
Plaintiff was systemic, by the Defendant disregarding a report that the Plaintiff
had made to the “Best Buy Human Resources department” which was a
corporate (not store) level entity, within Best Buy Stores LLC. This is supported
by pages 2-3 (bates stamp BB500258 and BB500259) of Defendant’s “Exhibit
A to Rule 26 disclosure” in which, it can be seen that the Plaintiff’s supervisor
had, among other things, “called the Plaintiff girls names”; and the resolution to
this was that it had been worked out while in fact, the lack of resolution, is
demonstrated the in the further discrimination of the Plaintiff by the Defendant,
that had occurred in the years following The “activity number 1-21V7RO” on
the bottom of bates stamp BB800259 had marked the issue as resolved, while it
Was in fact not resolved; Plaintiff claims the failure to resolve his “human

resources complaint” was an act of discrimination against him at the corporate

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level as, there was no actual resolution documented, for the same (a) significant
issue that the Plaintiff had brought to the attention of the “Best Buy Stores
Human Resources Department”, that would certainly seem to the rational

reasonable person as requiring a thorough investigation and cohesive resolution.

32. The Plaintiff’s lost wages are described as follows. Back pay: Lost wages
from the failure to promote to full time, for two years time during the years of
2014-2015, calculated by doubling my income earned for those years ($12,000
per year); as being promoted to full time would have doubled my hours from
2014 to 2015.

$24,000.

Also, from the time that l was terminated until now, calculated by two

years full time at $11.01/hour

$45,955

Total Back-pay $69,955
Front pay: lt cannot be reasonably considered now, that the Plaintiff can apply
and then be accepted for, a position in retail management because, the Plaintiff
did not get any experience in retail management because the Defendant had
failed to promote him and, had terminated him before he had a chance to

achieve a position in management; Because of this, the front pay is reflective of

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the fact that in order for the Plaintiff to now, attempt to achieve a position in
retail management, he would have to start in an ‘introductory position’, which
would then take years for him to gain the necessary experience, and then
advance into, a higher paying management position. The Plaintiff places the
value of these lost wages at $22,147.

Total Front-pay $22,147

Total Front-pay and Back-pay added

$92,102

Less the Plaintiff’s income since he had been employed by the Respondent,
which is as follows:

Unemployment:$2301.00

Day-labor: $350

Odd-jobs: $1500

Ski-instructor:$1402.10

Computer business: $650

Total to subtract: $6,203.10
Total lost wages, Inclusive of income since 12/4/2015

$85,898.90

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33. The Defendant had discriminated against the Plaintiff because of his
gender/male by reprimanding him for reasonable mistakes that were of no fault
of his own. These same mistakes stemmed from the inherent complexity of his
job and, were mistakes that Were in no way unique to the Plaintiff himself and,
Were clearly moot issues to all the parties involved, including the Defendant.
This is supported by the documentation of these reprimands, which are annexed
hereto as all of “Exhibit U”, “EXhibit V”, and “EXhibit W”. This documentation
of these same reprimands could have been identified as exactly what the
Plaintiff claims they are, through the testimony of Joshua Louie, but the
Defendant had fraudulently prevented this testimony from being procured, by
miss-characterizing the status of Joshua Louie’s employment with the

Defendant.

34. The Defendant has not provided any defense as of yet which would cast
any doubt onto the allegations of discrimination brought against the Defendant

by the Plaintiff.

35. The Plaintiff claims that the Defendant has refused to provide reasonable

responses to the Plaintiff’s requested admissions, interrogatories, and

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production of documents; and also impeded the Plaintiff’s depositions, because
all of this evidence that would have been collected by the Plaintiff, would have
shown that he Defendant has discriminated against the Plaintiff in such a way
that is no less egregious then the Way that the Plaintiff has described and

characterizes this same discrimination to be.

WI-IEREFORE, the Plaintiff requests that a Judgment is entered against
the Defendant, awarding the Plaintiff the amount of $388,000, together

With such other and further relief as to the Court may deem just and proper.

DATED: June 157 , 2018 /LVL )¢L\
MICHAEL J. ROTONDO
Plaintiff
408 Weatheridge Dr.
Camillus, NY 13031

 

Sworn to before me this

V~
/; day of/`M/\L., 20_'_&

 

" / MAuRlce Ross

Notary Pub|ic. State of New York
NO. 01 R06276894
Qualified in Onondaga Count
Commission Expires 02/25/20_§ `

